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Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

 

United States Courts
Southern District of Texas

UNITED STATES DISTRICT COURT FILED
for the NOV 13 2028

Southern District of Texas David J. Bradley, Clerk of Court

Houston Division

Case No.

 

(to be filled in by the Clerk’s Office)
Chloe Baker

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
if the names of all the plaintiffs cannot fit in the space above,
please write "see attached" in the space and attach an additional
page with the full list of names.)
-V-

 

Jury Trial: (check one) XI Yes [J] No

Lone Star Legal Aid, Ernest Brown, Pamela
Sotoodeh, Sonia Lopez, Courtney Paulding, Anna
Martinez

 

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

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COMPLAINT FOR EMPLOYMENT DISCRIMINATION

L The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

 

 

needed.
Name Chloe Baker
Street Address 6935 Hockley Garden Ln
City and County Houston
State and Zip Code Texas 77049
Telephone Number 713-775-3077
E-mail Address ChloeMBaker2014@gmail.com

 

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B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known). Attach additional pages if needed.

Defendant No. {

 

 

 

 

 

 

Name Lone Star Legal Aid
Job or Title (if known) Organization

Street Address 500 Jefferson St
City and County Houston

State and Zip Code Texas 77002
Telephone Number 713-653-0077
E-mail Address (if known)

Defendant No. 2

E-mail Address (if known)

Defendant No. 4

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Ernest Brown

Job or Title (if known) Deputy Director

Street Address 1415 Fannin 3rd Floor

City and County Houston

State and Zip Code Texas 77002

Telephone Number 713-653-0077 ext. 1207

E-mail Address (if known) ebrown@lonestarlegal.org
Defendant No. 3

Name Pamela Sotoodeh

Job or Title (if known) Director of Administration

Street Address 1415 Fannin 3rd Floor

City and County Houston

State and Zip Code Texas 77002

Telephone Number 713-652-0077

 

PSotoodeh@lonestarlegal.org

 

 

 

 

 

Name Sonia Lopez

Job or Title (if known)

Street Address 2929 McKinney St
City and County Houston Harris
State and Zip Code Texas 77003

 

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Telephone Number 936-234-2872

 

E-mail Address (if known) slopez@lonestarlegal.org

 

Cc. Place of Employment

The address at which I sought employment or was employed by the defendant(s) is

 

 

 

 

Name Lone Star Legal Aid
Street Address 2929 McKinney St.
City and County Houston

State and Zip Code 77003

Telephone Number 713-652-0077

 

I. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that apply):

i

Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (race,

color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VII, you must first obtain a
Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age Discrimination in
Employment Act, you must first file a charge with the Equal Employment Opportunity
Commission.)

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

(Note: In order to bring suit in federal district court under the Americans with Disabilities
Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
Opportunity Commission.)

Other federal law (specify the federal law):

 

Relevant state law (specify, if known):

 

Relevant city or county law (specify, if known):

 

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Ii.

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Statement of Claim

 

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

A. The discriminatory conduct of which ] complain in this action includes (check all that apply):

OXNWORD

Failure to hire me.

Termination of my employment.

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment.
Retaliation.

Other acts (specify):

(Note: Only those grounds raised in the charge filed with the Equal Employment
Opportunity Commission can be considered by the federal district court under the

 

federal employment discrimination statutes.)

 

 

 

 

 

 

 

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)
10/15/18, 11/1/18, 11/20/18, 12/27/2018, 1/3/19, 1/17/19, 1/22/19, 1/31/19, 1/2020
C, I believe that defendant(s) (check one):
| is/are still committing these acts against me.
C] is/are not still committing these acts against me.
D. Defendant(s) discriminated against me based on my (check all that apply and explain):
X race African American
oO color
Oo gender/sex
Cc) religion
CJ national origin
CI age (vear of birth) (only when asserting a claim of age discrimination.)
X disability or perceived disability (specify disability)
PTSD, Depression
E. The facts of my case are as follows. Attach additional pages if needed.

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I am a African-American 60 % disabled military veteran with diagnosed PTSD.

Before my in-office complaint was filed, I was given a raise and my own office.

I was terminated on my last day of psychiatrically ordered bed rest.

I have filed multiple complaints within the organization and the EEOC for the adverse actions taken
against me.

 

(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division.)

IV. Exhaustion of Federal Administrative Remedies
A. It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or

my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
on (date)

2/20/2019 & 5/21/2020

 

B. The Equal Employment Opportunity Commission (check one):
C] has not issued a Notice of Right to Sue letter.
XX issued a Notice of Right to Sue letter, which I received on (date) 8/21/2020

(Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
Opportunity Commission to this complaint.)

C. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant's alleged discriminatory conduct (check one):

CJ 60 days or more have elapsed.
LC less than 60 days have elapsed.

V. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
money damages.

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Requesting the following types of damages:

Back pay ($70,000)

Front pay ($105,000)

Loss of benefits ($35,000)

Punative and general damages for mental anguish, inconvenience, loss of employement, loss of enjoyment of life,
diagnosed psychiatric conditions, reputational harm ($400,000)

 

VL = Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 11/13/20

Signature of Plaintiff
Printed Name of Plaintiff Chloe Baker

 

 

B. For Attorneys"

Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

 

 

 

 

 

 

 

 

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Email Address (if known)

 

B. (Continued)
Defendant No. 5

Name Courtney Paulding
Job or Title (if known) Paralegal
Street Address 2929 McKinney St.
City or County Houston
State and Zip Code Texas 77003
Telephone Number 713-817-4177
Email Address (if known)

Defendant No. 6
Name Anna Martinez
Job or Title (if known) Intake Specialist
Street Address 2929 McKinney St.
City or County Houston
State and Zip Code Texas 77003
Telephone Number 713-652-0077

 

 
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Complaint of Discrimination

I, Chloe Baker, allege that I was harassed by co-workers and subordinates, Anna
Martinez, Courtney Paulding, and Betty Dannhei; which led me to file a formal
complaint on December 27, 2018, as follows:

1. On October 15, 2018, in our data system of notes, Betty Dannhei, my fellow
paralegal, falsely accused me of going against policy and referred to me as,
“girl.” Later on this same day, she saw me on the stair well and yelled to me,
“run, girl. Run.”

2. On November 1, 2018, Anna Martinez, Intake specialist, reported to Sonia
Lopez, Directing Attorney, that I had taken an hour break. (Sonia Lopez’s office
was in Belton, Tx, Anna Martinez’s office was located in downtown Houston, Tx,
and my office was located in the Houston VA Medical center.) Sonia Lopez tried
to take an hour of my PTO based off of this false allegation.

3. On November 20, 2018, Anna Martinez refused to properly handle a workflow
assigned to her by me. She fabricated her reasonings for me having to come to
the downtown Houston office and do it myself. (Houston VA office was a remote
location that did not have all of the resources other offices were afforded.)

4. On December 27, 2018 a client came into the remote location VA (Chloe
Baker’s office) and told me they had called the LSLA hotline (Anna Martinez) to
check on his pending case in recent days. Instead he was told by Anna Martinez
to file a complaint on me, Chloe Baker. This was never client’s intent, he just
wanted an update. Once I heard this news, I filed a formal complaint with Sonia
Lopez who immediately ran it up the chain to Ernest Brown, Deputy Director, and
Pamela Sotoodeh, Director of Administration.

The entire office closed for the holidays. Ernest Brown scheduled a meeting with
me to discuss these complaints on January 17, 2019. Between the filing of the
complaint and the meeting, the following incidents occurred in the office
setting:

5. On January 3, 2019, everyone’s first day back in office, Anna Martinez
told office co-workers that I, Chloe Baker, “kissed [Sonia Lopez’s] butt,” to
get the remote office promotion at the Houston VA hospital.

6. On the same day, January 3, 2019, Courtney Paulding referred to me as “the
helper,” in Practice Manager data notes. I immediately reported this to our
directing attorney and supervisor, Sonia Lopez due to it’s racial connotation.

7. Lastly on January 3, 2019, Anna Martinez wrote a note in Practice Manager
referring to me as, “the young black girl at the VA.” Immediately reported this
to our directing attorney and supervisor, Sonia Lopez via email and pointed out
the pattern of disparate treatment.

8. On the day of January 4, 2019, I was denied travel voucher expenses due to
Sonia Lopez not signing off. By this date, I had 3 months of travel vouchers
owed to me.

9. On January 17, 2019, Ernest Brown met with me at 500 Fannin to discuss the
complaint. I expressed to him the adverse working conditions at the remote
location such as not having a printer, having to use my personal telephone to
call clients and applicants, not having a copier, and not having weekly meetings
with my staffing and directing attorneys like every other paralegal in the unit.
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Ernest Brown told me that I was being sensitive and suggested that I move to a
different unit in the organization.

10. On January 22, 2019, Jalanda Phillips, a paralegal from the Belton, Tx
office, assigned me 41 of Anna Martinez’s intake specialist tasks.

11. On this same day January 22, 2019, I went to seek help from my
psychiatrist and was immediately put on bed rest for PTSD and depression flare
ups caused by a hostile work environment until February 1, 2019.

12. On January 31, 2019 Pamela Sotoodeh sent a memo on behalf of Ernest Brown
with an incorrectly dated response to my December 27, 2018 complaint showing he
found no evidence of discrimination or wrong-doing.

13. Also on January 31, 2019, one day before I was scheduled to return from
sick leave, Pamela Sotoodeh sent a termination of my temporary work agreement on
behalf of Ernest Brown.

14. I continued to work at 2929 McKinney St. referring clients and applicants
to LSLA. On January of 2020, I had an appointment with Courtney Porter, a staff
attorney with Lone Star Legal Aid. Anna Martinez chased me down the hall and
told me I did not belong in that part of the building.

I believe the actions taken against me were adverse and I was retailed against
for filing an in-office complaint.
DECLARATION

I, the undersigned, declare under penalty of perjury that the foregoing
statements made in the above are true and correct to the best of my knowledge,

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Case 4

 
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EEOC Form 164 (11/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

To: Chloe M. Baker From: Houston District Office
6935 Hockley Garden Mickey Leland Building
Houston, TX 77049 1919 Smith Street, 7th Floor

Houston, TX 77002

 

| On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.

Jesus M. Santiago,
460-2020-03799 Investigator (346) 327-7709

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

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- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the

alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On behalf of the Commission

Koy. ULbeuson fer 8-19-20

 

Enclosures(s) “Rayford O. Irvin, (Date Mailed)

District Director

ce. Pamela Sotoodeh

Director of Administration
LONE STAR LEGAL AID
2929 McKinney St
Houston, TX 77003
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Enclosure with EEOC
Form 1614 (11/16)

INFORMATION RELATED TO FILING SUIT
UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
If you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of Stafe law may be shorter or more limited than those described below.)

Title Vil of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SUIT RIGHTS

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal! strategy decisions for you.

PRIVATE SUITRIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 ~ not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title Vil, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
